         Case 1:20-cv-01106-LGS Document 249 Filed 12/23/22 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 KEWAZINGA CORP.,

                           Plaintiff,                  Case No. 1:20-cv-1106-LGS

           v.                                          JURY TRIAL DEMANDED

 GOOGLE LLC,

                             Defendant.



      DEFENDANT GOOGLE LLC’S MOTION FOR SUMMARY JUDGMENT OF
                        NONINFRINGEMENT


       PLEASE TAKE NOTICE that on a date and time to be set by the Court, Defendant

Google LLC will move before the Honorable Lorna G. Schofield, U.S.D.J., at the United States

Courthouse for the Southern District of New York, 40 Foley Square, New York, New York 10007,

pursuant to Rule 56 of the Federal Rules of Civil Procedure, for entry of an order granting summary

judgment of noninfringement in favor of Defendant Google LLC and against Plaintiff Kewazinga

Corp. on all of Plaintiff Kewazinga Corp.’s claims.

       PLEASE TAKE FURTHER NOTICE that in support of this motion Defendant Google

LLC will rely upon the accompanying Memorandum of Law, Declaration of Ryan Dowell with

exhibits, Local Rule 56.1 Statement of Undisputed Material Facts, and the Claim Construction

Joint Statement and Order.
       Case 1:20-cv-01106-LGS Document 249 Filed 12/23/22 Page 2 of 2



Dated: December 22, 2022                Respectfully Submitted,

                                        /s/ Karim Z. Oussayef____________

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